 

Case 3:19-cv-00362-MHL Document 1-3 Filed 05/15/19 Page 1 of 8 PagelD# 7

VIRGINIA

IN THE CIRCUIT COURT FOR THE CITY OF RICHMOND

TZANN FANG, MD
’ Plaintiff,
v.

HYATT CORPORATION

Serve: Corporation Service Company
Registered Agent
100 Shockoe Slip, 2nd Floor
Richmond, VA 23219

and

TYSONS CORNER HOTEL PLAZA
LLC
Serve: CT Corporation System _ .
Registered Agent
4701 Cox Rd. Ste 285
Glen Allen, VA 23060

and

HELIX ELECTRIC, INC.
Serve: CT Corporation System
Registered Agent
4701 Cox Rd. Ste 285
Glen Allen, VA 23060

Defendants.

 

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COMPLAINT

Plaintiff Tzann Fang, MD, by counsel, seeks judgment against Defendants Hyatt

Corporation, Tysons Corner Hotel Plaza LLC, and Helix Electric, Inc. on the grounds and in the

amount set forth herein.

EXHIBIT

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PARTIES

1. Plaintiff Tzann Fang, MD (“Plaintiff”) is a resident of the Commonwealth of
Virginia residing at 13506 Chesdin Landing Drive, Chesterfield, Virginia 23838.

2. Defendant Hyatt Corporation (“Defendant Hyatt”) is a Delaware corporation with
its principal place of business located at 150 N. Riverside Plaza, 14th Floor, Chicago, Ilinois
60606.

3. Defendant Tysons Corner Hotel Plaza LLC (“Defendant Tysons Corner”) is a
Delaware corporation with its principal place of business at 401 Wilshire Boulevard, Suite 700,
Santa Monica, California 90401.

4, Defendant Helix Electric, Inc. (“Defendant Helix”) is a California corporation
with its principal place of business at 6795 Flanders Drive, San Diego, California 92121.

| FACTUAL ALLEGATIONS

5. On October 21, 2017, Plaintiff and his wife, Ms. Fang, checked into the Hyatt
Regency Hotel at 7901 Tysons One Place, Tysons Comer, Virginia (the “Premises”).

6. Upon information and belief, the Premises are owned and operated by Defendants
Hyatt and Tysons Corner.

va Defendants Hyatt and Tysons Corner hired Defendant Helix to install the smoke
detectors and fire alarm systems on the Premises in 2014.

8. During Plaintiff and Ms. Fang’s October 21 stay on the Premises, Mrs. Fang took
a shower that created a large amount of steam in the Fangs’ hotel room.

9, The hotel room’s smoke detector was installed in close proximity to the bathroom

door and, consequently, the steam from Mrs. Fang’s shower set off the fire alarm.
 

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10. The smoke detectors selected and/or installed by all defendants have a known
propensity to trigger when placed in close proximity to stearn or vapor.

11. The fire alarm box was installed in close proximity to the bed, which Plaintiff was
sitting on at the time of the incident.

12. Plaintiff bas a physical handicap and could not exit the room without the
assistance of his wife, who was in the shower when the fire alarm went off. |

13. The delay in exiting the hotel room and Plaintiff's proximity to the fire alarm box
exposed him to the extremely loud sound of the fire alarm for an extended amount of time.

14. Shortly after Plaintiff's exposure to the fire alarm, he began to suffer pain
intractable tinnitus.

15. _. Tinnitus is the perception of noise or ringing in the ears and is a symptom of ear
injury.

16. This chronic ringing in Plaintiff's ears has not ceased, is expected to persist for
the rest of his life, and continues to severely affect his quality of life.

17. Specifically, the ringing in Plaintiff's ears is so loud and incessant that it presveaits
him from falling asleep and staying asleep.

18. Plaintiff’s condition has also inadvertently affected his career as an oncologist in

that it prevents him from focusing on the complex and detailed tasks required by his profession.
 

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COUNT I- NEGLIGENCE
Defendants Hyatt and Tysons Corner

19. Plaintiff repeats and realleges all of the foregoing paragraphs as if fully pleaded
herein,

20. _— At all times relevant to this action, Defendants Hyatt and Tysons Corner owned
and/or operated the Premises where Plaintiff sustained his injuries.

21. | The Premises were offered to the public for accommodations and lodging.

22. _ As such, Plaintiff was an invitee of Defendants Hyatt and Tysons Corner on
October 21, 2017. .

23. As the owner and/or operator of said Premises, Defendants Hyatt and Tysons
Corner and their agents and employees had a duty to use the utmost care in maintaining the
Premises in a safe condition; to make inspections to determine whether any defects in the smoke
detector/fire alarm system existed; to remedy any defects in the smoke detector/fire alarm system
in a prompt and safe manner; and to warn the public of any such defects known to, or reasonably
discoverable by, Defendants Hyatt and Tysons Corner or their agents, employees, or contractors.

24. Notwithstanding these duties, Defendants Hyatt and Tysons Comer failed to use
the utmost care, or even reasonable care, in maintaining the Premises in a safe condition; to make
inspections to determine whether any defects in the smoke detector/fire alarm system existed; to
remedy any defects in the smoke detector/fire alarm system in a prompt and safe manner; and to
warn the public of any such defects known to, or reasonably discoverable by, Defendants Hyatt
and Tysons Corner or their agents, employees, or contractors.

25. As a result of Defendants Hyatt and Tysons Corner’s negligence, Plaintiff was

injured and suffered the following damages: physical pain and mental anguish, past, present, and
 

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that which he may be reasonably expected to suffer in the future; mental anguish, and associated
humiliation and embarrassment; inconvenience, past, present, and that which he may reasonably
be expected to suffer in the future; medical expenses, past, present, and that which he may be
reasonably expected to suffer in the future; lost earnings and loss of earning capacity, past,
present, and that which he may be reasonably be expected to suffer in the future; and has

otherwise been damaged.

COUNT II - NEGLIGENCE
Defendant Helix

26. Plaintiff repeats and realleges all of the foregoing paragraphs as if fully pleaded
herein.

27. Upon information and belief, Defendant Helix was the contractor responsible for
the installation of the smoke detectors and fire alarm — on the Premises.

28. Defendant Helix owed a duty of reasonable care to design and/or plan for
installation of the smoke detector and fire alarm system so that they would function in a
reasonably safe and proper manner.

29. Notwithstanding these duties, Defendant Helix failed to use reasonable care in its
installation of the smoke detectors and fire alarm systems on the Premises.

30. Specifically, Defendant Helix installed the smoke detector located in Plaintiff's
hotel room in such close proximity to the bathroom that steam coming from the shower would
easily trigger false alarms,

31. On October 21, 2017, a false alarm was triggered by steam in Plaintiff's hotel
room.

' 32. Asaresult of Defendant Helix’s negligence, Plaintiff was injured and suffered the

following damages: physical pain and mental anguish, past, present, and that which he may be

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teasonably expected to suffer in the future; mental disfigurement, deformity, and associated
humiliation and embarrassment; inconvenience, past, present, and that which he may reasonably
be expected to suffer in the future; medical expenses, past, present, and that which he may be
reasonably expected to suffer in the future; lost earnings and loss of earning capacity, past,
present, and that which he may be reasonably be expected to suffer in the future; and has
otherwise been damaged.

WHEREFORE, Plaintiff respectfully prays for judgment against Defendants, jointly and
severally, in the sum of $2,000,000.00 (TWO MILLION DOLLARS) and interest from the date
of this accident, pursuant to Virginia Code Section 8.01-383, plus his costs expended herein.

A JURY TRIAL IS REQUESTED.

   

 

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Andrew Lucchetti - VSB No. 86631
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Notice of Service of Process

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KOC / ALL
Transmittal Number: 19670046
Date Processed: 04/18/2019

 

Primary Contact: Rita D'Amico

Hyatt Hotels Corporation
150 N Riverside Piz

FI 14

Chicago, IL 60606-1598

 

Entity:

Entity Served:

Title of Action:
Document(s) Type:
Nature of Action:
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Hyatt Corporation
Entity 1D Number 0007499

Hyatt Corporation

Tzann Fang, MD vs. Hyatt Corporation
Summons/Complaint

Personal Injury

Richmond City Circuit Court, VA
CL19-1978-7

Virginia

04/16/2019

21 Days

CSC

Personal Service

Jonathan E. Hatperin
804-527-0100

 

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COMMONWEALTH OF VIRGINIA

 

RICHMOND CITY CIRCUIT COURT
Civil Division
400 NORTH 9TH STREET
RICHMOND VA 23219

Summons

To: HYATT CORPORATION Case No, 760CL19001978-00
SERVE: CORPORATION SERVICE '
COMPANY, REGISTERED AGENT
100 SHOCKOE SLIP, SECOND FLOOR
RICHMOND VA 23219

The party upon whom this summons and the attached complaint are served is hereby notified
that unless within 21 days after such service, response is made by filing in the clerk’s office
of this court a pleading in writing, in proper legal form, the allegations and charges may be

taken as admitted and the court may enter an order, judgment, or decree against such party
_ either by default or after hearing evidence.

Appearance in person is not required by this summons.
Done in the name of the Commonwealth of Virginia on,Friday, April 12, 2019

Clerk of Court: EDWARD F

 

by VA
iv \) ae CLERK)
Instructions: ee
Hearing Official:
Attorney's name: HALPERIN, JONATHAN E

5255 HICKORY PARK DRIVE, STE. B
GLEN ALLEN VA 23059
804.527.0100

 
